Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 1of36 Page ID #:1522

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

 

PRESENT: The Honorable James V. Selna, U.S. District Court Judge

HONORABLE JAMES V. SELNA, UNITED STATES DISTRICT JUDGE

Lisa Bredahl Not Present
Deputy Clerk Court Reporter
ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR
DEFENDANT:
Not Present Not Present

PROCEEDINGS: (IN CHAMBERS)
Order Regarding Motion to Dismiss

In this case, under the Employee Retirement Income Security Act of 1974
(“ERISA”), 29 U.S.C. §§ 1001, et seg., Plaintiff Vicki Collier (“Collier”) alleges that
Defendant Lincoln Life Assurance Company of Boston (“Lincoln”) improperly denied
her claim for long term disability benefits. Compl., Dkt. No. 1. Both parties have filed
opening briefs. Collier Opening Br., Dkt. No. 18; Lincoln Opening Br., Dkt. No. 19. Both
parties have also filed responsive briefs and submitted proposed findings of fact and
conclusions of law. Collier Resp. Br., Dkt. No. 25; Lincoln Reply Br., Dkt. No. 26.

For the following reasons, the Court affirms Lincoln’s decision to deny Collier’s
benefits.

I. BACKGROUND
This case concerns Collier’s claims for entitlement to long-term disability benefits

under the Automobile Club of Southern California (“AAA”) Long-Term Disability Plan
(the “Plan”). Collier Opening Br., Dkt. No. 18, at 1. Lincoln is the insurer of benefits

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 1 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 2 of 36 Page ID #:1523

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

under the Plan. Id. The Plan is governed by ERISA and sponsored by AAA, Collier’s
former employer. Id.

Collier was employed by AAA from 2013 until 2018 in the position of Insurance
Sales Agent. See id. Collier claims that she has been suffering from persistent and
disabling cervical radiculopathy, lumbosacral radiculopathy, bilateral shoulder
impingement, bilateral elbow tendonitis/bursitis, bilateral wrist tendonitis/bursitis, and
migraine headaches. Id.

Under the Plan, Collier was entitled to receive monthly long-term disability
benefits if, during the Elimination Period and the next 12 months, due to sickness or
injury, she was unable to perform the substantial and material acts necessary to pursue
her occupation in the usual and customary way. After that, to continue to receive the
benefits, Collier must have shown she was unable to engage in any occupation she could
reasonably be expected to perform in light of her age, education, training, experience,
station in life, and physical and mental capacity. See Administrative Records (“AR”),
Dkt. No. 17-1, at 1225.

II. LEGAL STANDARD

In the Ninth Circuit, actions to recover benefits under ERISA are adjudicated by a
bench trial under Federal Rule of Civil Procedure Rule 52(a). Kearney v. Standard Ins.
Co., 175 F.3d 1084, 1095 (9th Cir. 1999). Under Rule 52(a), the Court can resolve factual
issues in favor of either party, and it must “find the facts specially and state its
conclusions of law separately.” Fed. R. Civ. P. 52(a).

The standard of review in this case is de novo. Under the de novo standard, the
Court independently considers the evidence, finds facts, and determines how the policy
applies, just as it would resolve any other breach of contract claim. Firestone Tire &
Rubber Co. v. Bruch, 489 U.S. 101, 112-13 (1989): Krolnik v. Prudential Ins. Co. of
Am., 570 F.3d 841, 843 (7th Cir. 2009) (“‘de novo review’ is a misleading phrase. . . .
For what Firestone requires is not ‘review’ of any kind; it is an independent decision
rather than ‘review’ that Firestone contemplates. . . . [The] court takes evidence (if there
is a dispute about a material fact) and makes an independent decision about how the

 

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 2 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 3o0f36 Page ID #:1524

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

language of the contract applies to those facts.”).

“Tn a trial on the record, the court “can evaluate the persuasiveness of conflicting
testimony and decide which is more likely true.’” Armani v. Nw. Mut. Life Ins. Co., 2014
WL 7792524, at *8 (C.D. Cal. Nov. 25, 2014) (quoting Kearney, 175 F.3d at 1095): see_
also Schramm v. C.N.A. Fin. Corp. Insured Group Benefits Program, 718 F. Supp. 2d
1151, 1162 (N.D. Cal. 2010) (a court reviewing the administrative record “evaluates the
persuasiveness of each party’s case, which necessarily entails making reasonable
inferences where appropriate.”’).

The Court may consider the administrative record, which consists of the materials
the administrator considered in reaching its benefit determination, and “new evidence
may be considered under certain circumstances to enable the full exercise of informed
and independent judgment.” Mongeluzo v. Baxter Travenol Long Term Disability
Benefit Plan, 46 F.3d 938, 943 (9th Cir. 1995). “Plaintiff bears the burden of proof of
showing, by a preponderance of the evidence, that she is entitled to the benefits provided
by the policy except with regards to matters within the defendants’ control.” Popovich v.
Metro. Life Ins. Co., 281 F. Supp. 3d 993, 997 (C.D. Cal. 2017) (citing Estate of Barton
v. ADT Sec. Servs. Pension Plan, 820 F.3d 1060, 1066—65 (9th Cir. 2016)).

 

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 3 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 4o0f36 Page ID #:1525

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

III. EVIDENCE BEFORE THE COURT
The Court considers the evidence in the administrative record.
A. FINDINGS OF FACT
1. The Plan

AAA employed Collier as an Insurance Sales Agent. AR Dkt. No. 17-1, at 1.
Lincoln issued Group LTD Policy No. GF3-860-444185-01 to AAA effective August 1,
2015. Id. at 1217. Pursuant to the Plan, a claimant must be continuously disabled through
the Elimination Period to be eligible to receive benefits. Id. at 1221. The Elimination
Period, according to the Plan, is the latter of 182 days or the date short-term disability
payments end. Id.

Under the Plan, a disability arises when a claimant is “unable to perform with
reasonable continuity the Substantial and Material Acts necessary to pursue his Own
Occupation in the usual and customary way.” Id. at 1225. The Plan also requires that the

claimant submit proof of disability on an ongoing basis to qualify for benefits. See id. at
1231, 1239, 1256.

The Plan defines “Substantial and Material Acts” as “acts that are normally
required for the performance of the [claimant] Own Occupation and cannot be reasonably
omitted or modified.” Id. at 1228. “Own Occupation,” according to the Plan, means “the
[claimant]’s occupation that [s]he was performing when [her] disability or partial
disability began.” Id. at 1229.

The Plan provides benefits following the Elimination Period and for the 12 months
thereafter. Id. at 1225.

After the elimination period and 12 months of payments, a claimant is disabled
when Lincoln determines that due to sickness or injury, the claimant cannot perform,
with reasonable continuity, the Substantial and Material Acts of any occupation. Id.
Meaning, “the claimant is not able to engage with reasonable continuity in any

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 4 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 5of36 Page ID #:1526

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

occupation in which [s]he could reasonably be expected to perform satisfactorily in light
of h[er] age, education, training, experience, station in life, and physical and mental
capacity.” Id.

The Plan’s termination of coverage provision notes that coverage ends on the
earliest of the following dates: (1) the date the policy terminates, (2) the date that the
covered person is no longer in an eligible class, (3) the date that the covered person is no
longer eligible for insurance, (4) the last day for which any required employee
contribution has been made, (5) the date employment terminates (except when due to
disability), or (6) the date the covered person ceases active work due to a labor dispute.
Id. at 1252. The Plan further notes that termination of the policy under any of these
conditions will not prejudice any claim that occurs while the policy is in force. Id. at
1253.

Active employment is defined as where “the [e|mployee [] [1s] actively at work . . .
on a full-time or part-time basis and paid regular earnings.” The employee must be
working at least the minimum number of hours described under the Schedule of Benefits
(25 hours a week). Id. at 1223; id. at 1219. The Plan states “Active Employment”
includes paid vacations and any excused leave of absence. Id. at 1223.

2. Collier’s Surgery and Last Day At Work — May 14, 2018.

On July 25, 2017, Collier underwent a right shoulder rotator cuff surgery. Lincoln
Opening Br., Dkt. No. 19, at 7. In November 2017, after time off work to recover, Collier
returned to work. AR Dkt. No. 17-1, at 337. On May 14, 2018, Collier stopped working.
Collier Opening Br., Dkt. No. 18, at 6.

In her declaration, Collier claimed that she started experiencing pain in her
shoulders, back, neck, and head during 2015- 2016. AR Dkt. No. 17-1, at 66. In February
2017, Collier visited both a specialist and a general physician, who provided her with a
letter requesting her employer to evaluate Collier’s workstation for ergonomic
adjustments. However, although the evaluation was done during that month, the
recommended adjustments were not timely implemented. Id. Collier further alleged she
informed both the Regional Sales Manager and Branch Manager of her pain and needed

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 5 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 6 of 36 Page ID #:1527

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

ergonomic adjustments to relieve her ongoing pain, yet it was never addressed by them.
Id.

As the pain continued, Collier underwent an MRI that revealed a rotator cuff tear
that was subsequently treated with surgery. Id. at 67.

A few weeks after returning to work in November 2017, Collier began
experiencing pain in her right shoulder again. Id. Collier’s Orthopedic Surgeon at the
time, Dr. Sovarinth Tun (“Tun”), administered her a cortisone injection in her right
shoulder. Id. Although this relieved the pain for a few weeks, Collier felt the pain was
exacerbated in the long run, and both her right and left shoulders began hurting. Id.

On May 14, 2018, Collier revisited Dr. Tun and received a Work Status Report
indicating she should not type or use both shoulders and arms. Id. at 1125. If her
employer could not accommodate this, then Collier shall be considered temporarily and
totally disabled. Id. Collier stated she contacted her Manager, who shortly after informed
her that the restrictions indicated in her Work Status Report could not be accommodated.
Id. at 68.

3. Collier’s Medical Treatment

Collier received medical treatment from several physicians for her medical
conditions. See generally, AR She also received physical therapy, magnetic resonance
imaging (“MRI”), and was treated with prescription medications and steroid injections.
Id. Her injuries can be categorized as (1) cervical spine and neck injuries, (2) lumbar
spine and lower back injuries, (3) shoulder injuries, (4) elbow injuries, (5) wrist injuries,
and (6) migraine headaches. Id.

(i) Treatment by Dr. Tun

On or around July 2017, Collier sought medical treatment from Dr. Tun who
specializes in Orthopedic injuries and surgeries. See AR, Dkt. No. 17-1, at 1112. Dr. Tun
performed a right shoulder rotator cuff surgery on Collier on July 25, 2017. Lincoln
Opening Br., Dkt. No. 19, at 7.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 6 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 7 of 36 Page ID #:1528

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

After surgery, Tun placed Collier on total temporary disability through November
21, 2017, to recover from the operation. AR Dkt. No. 17-1, at 622.

Upon returning to work, Collier revisited Dr. Tun and received cortisone injections
to both her nght and left shoulders in an attempt to relieve the pain she complained to
continue to experience and was gradually increasing. Id. at 411.

On May 14, 2018, Collier revisited Dr. Tun, and they discussed the possibility of a
second surgery to Collier’s right shoulder as treatment. Id. at 1119. The notes from that
date state the Collier had “persistent Pain in bilateral shoulders” and that the plan to
address it included: “Activity modification, Meloxicam, Norco, [w]ill be stopping her
current job.” Id. Upon Dr. Tun’s examination, he found no atrophy with limited range of
motion. Id. Dr. Tun issued Collier with a “Work Status Report” that specified the
required activity modification, and read as follow: “Modified Activity (Applies to work
and home). This patient is placed on modified activity at work and at home from
5/14/2018 through 7/15/2018. If modified activity is not accommodated by the employer
then this patient is considered temporarily and totally disabled from their regular work for
the designated time and a separate off work order is not required. Other needs and/or
restrictions: No typing. No use of both shoulders and arms.” Id. at 1125.

On July 6, 2018, Collier visited Dr. Tun again, who noted that Collier continued to
complain about “persistent [p]ain in bilateral shoulder, [s]topped pain medications [, and]
[d]oes physical therapy at Henry Mayo.” Id. at 1113. Upon Dr. Tun’s examination, he
found no atrophy with limited range of motion. Id. Dr. Tun administered Collier with
cortisone injections to both shoulders extended the modified activity until September 1,
2018. Id.

On August 27, 2018, Collier had a telephone appointment with Dr. Tun to go over
her “diagnostic imaging results,” during which Collier asked and received an extension of
her modified activity until October 31, 2018. Id. at 1089-91. In that call, Dr. Tun
reiterated the option to treat the pain with surgery, yet Collier explained that she is about
to lose health coverage and therefore cannot do it. Id. at 1089.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 7 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 8 of 36 Page ID #:1529

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

No record demonstrates that Dr. Tun treated Collier thereafter.

(ii) Treatment by Dr. Haronian

 

Beginning on September 5, 2018, in connection with a worker’s compensation
claim, Collier also sought care from Edwin Haronian, M.D., an Orthopedic Surgeon.
Collier Opening Br., Dkt. No. 18, at 8; Lincoln Opening Br., Dkt. No. 19, at 9. Dr.
Haronian diagnosed Collier with “Cervical spine radiculopathy [,| Lumbar spine
radiculopathy [,] Bilateral shoulder impingement, status post nght shoulder arthroscopy
[,| Bilateral elbow tendinitis |, and] Bilateral wrist tendinitis. AR Dkt. No. 17-1, at 964.
In the same visit, following his diagnosis, Dr. Haronian recommended to Collier to
undergo neurodiagnostic testing of her upper and lower extremities, attend 12 sessions of
physical therapy for her neck, black, shoulders, wrists, and hands, and also prescribed
Collier two gabapentin, a nerve pain medication, at 300 mg. Id. at 965. Dr. Haronian
allowed Collier to return to work but indicated that she “should not lift, push, or pull
more than 10 pounds. She should not perform bending, twisting activities, or place the
spine in unusual or awkward positions. She should not perform repetitive hand motions,
pinching or grasping bilaterally.” Id. The attached report indicated “[t]he patient should
remain on Temporary Total Disability (T.T.D.) if the work modifications cannot be
accommodated by the employer.”

On October 10, 2018, Collier visited Dr. Haronian for a follow-up, during which
he refilled her pain medication and indicated he is still waiting to receive Collier’s MRI
records. Id. at 953. In that meeting, Dr. Haronian also stated that Collier’s current work
restrictions will continue until her next visit, scheduled for four weeks from October 10,
2018. Id.

On November 14, 2018, Collier visited Dr. Haronian for another follow-up, where
he reviewed Collier’s 2016 cervical spine MRI that Collier has brought with her. Id. at
588. In that meeting, Dr. Haronian also stated that Collier’s current work restrictions will
continue. Id. Additionally, as Dr. Haronian did not have the Qualified Medical
Examination (“QME”) report from Collier’s examination on October 11, 2018, a follow-
up visit for “further recommendations” was scheduled for few weeks from November 16,
2018. Id. at 589.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 8 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 9of36 Page ID #:1530

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

On November 29, 2018, Dr. Haronian examined Collier again, following
complaints of back pain, where he found some loss of motion. Id. at 591. As for the pain,
Dr. Haronian noted that the Norco medication relieved Collier’s pain by “at least 30-
40%.” Id. Following the exam, Dr. Haronian reiterated Collier’s work restrictions. Id. at
592. In addition, Dr. Haronian referred Collier to Dr. Jonathan Kohan, M.D., an
Orthopedic Pain Management Doctor, to further manage Collier’s consumption of opioid
medications. Id. at 593

On January 31, 2019, Dr. Haronian met with Collier for a “comprehensive
orthopedic evaluation.” He gave the same diagnosis and same work restrictions. See id. at
917-27. During the visit, Dr. Haronian generated a “Permanent and Stationary Report of
a Primary Treating Physician” report to summarize the evaluation. See id. The report
describes the history of Collier’s injury based on information obtained by Mr. Antonia
Salazar — Dr. Haronian’s medical historian. Id. at 622.

Of note, Collier stated that “in [late] 2016, she developed the gradual onset of pain
in her neck, shoulders, bilateral upper extremities, forearms, elbows, hands, wrists, back,
head and lower extremities which she attributed to performing her job duties which for
the most part entailed working at an ergonomically incorrect work station. She stated that
she also developed hemorrhoids due to prolonged sitting at work on a chair that did not
have padding.” Id. Collier further reported, “[s]he worked 50-60 hours per week [. . .
which] entailed prolonged standing and walking, as well as continuous fine maneuvering
of her hands and fingers, and repetitive bending, stooping, squatting, twisting, turning,
forceful pulling and pushing, forceful gripping and grasping, lifting and carrying 5
pounds, reaching to all levels.” Id. at 918. The report noted that Collier was not working
and that her last day at work was May 25, 2018. Id. The Court notes that Collier’s last
day at work was May 14, 2018, as both parties agree. Collier Opening Br., Dkt. No. 18, at
1; Lincoln Opening Br., Dkt. No. 19, at 7.

Dr. Haronian concluded that Collier’s diagnosis remains the same and that “further
conservative treatment is unlikely to provide [Collier] with improvement in her condition.
She has reached a level of maximum medical improvement as well as permanent and
stationary status.” AR Dkt. No. 17-1, at 924.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 9 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 10o0f 36 Page ID #:1531

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

Moreover, Dr. Haronian stated, “[a]s it relates to causation, it is with reasonable
medical probability, [Collier] has sustained injuries to the cervical and lumbar spine,
bilateral shoulders, bilateral elbows, and bilateral wrist due to her continuous trauma
activities that occurred at work” and “in regard to the cervical and lumbar spine, I would
apportion 20% due to preexisting degenerative changes [. . .] and 80% due to the direct
effect of the continuous trauma injury. For the bilateral shoulders, bilateral elbows, and
bilateral wrist, 100% of [Collier] disability is the direct effect of the continuous trauma
injury.” Id. at 925.

Regarding Collier’s work restrictions, Dr. Haronian determined she “can return to
work with the restrictions that have been provided, however, if the employer is unable to
accommodate the work restrictions, then the patient can be considered a [Qualified
Injured Worker].” Id. at 924.

On December 11, 2019, Dr. Haronian met with Collier for a follow-up visit
because she was still complaining of residual pain. Id. at 214. In his report on the visit,
Dr. Haronian stated that Collier has been declared “permanent and stationary” and that
“her condition is essentially unchanged.” Id.

(111) Treatment by Dr. Kohan

Collier was also seen by Dr. Jonathan Kohan, M.D., an Orthopedic Pain
Management Doctor, on December 13, 2018, for pain management evaluation. Id. at 942.
Collier complained to Dr. Kohan that she has been experiencing, mainly, pain in the (1)
neck, (2) both shoulders, (3) both elbows, (4) both hands, (5) back, (6) knees, and (7)
ankles. Id. 937-38. Collier also reported to Dr. Kohan that her “[n]eck pain constant[ly]
increasing by any sitting, standing, driving, any lifting,
pushing, pulling, over-the-shoulder activity,” and that her “[l]ow back pain has recently
exacerbated and has been associated with significant lower
extremity pins and needles sensation, tingling sensation, and numbness and cramping.”
Id. at 942. Additionally, Collier stated that one 5 mg Norco per day had helped her with
“severe breakthrough pain that happens at the end of the day after she is active.” Id.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 10 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 11o0f 36 Page ID #:1532

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

Upon examining Collier, Dr. Kohan found (1) tenderness and moderate spasm over
the lumbar spine, (2) normal reflexes and normal motoric in the upper and lower
extremities, (3) decreased sensation over C5 and C6, and (4) normal range of motion of
the cervical spine, neck, and shoulders. Id. at 942.

Collier met with Dr. Kohan again, on January 29, 2019, for a follow-up visit where
Dr. Kohan reviewed Dr. Arora’s QME report (see Section 6 below). Id. at 929. In that
visit, Dr. Kohan opinioned that Collier’s neck and back pain were reasonably determined
to be work-related, notwithstanding Dr. Arora’s belief that Collier’s back, neck, and
hemorrhoids were not caused by Collier’s work duties. Id. at 929-30.

(iv) Physical Therapy

Collier was first referred to physical therapy on August 29, 2014, and then again
on June 15, 2016. Id. at 109, 111. For her neck, Collier attended physical therapy from
October 19, 2016, to November 12, 2016. Id. at 114. For her shoulders, Collier attended
physical therapy from July 31, 2017, to October 12, 2017. Id. at 118.

(v) Magnetic Resonance Imaging (“MRI”) Testing

Collier underwent three MRIs: (i) Cervical Spine MRI; (11) Right Shoulder MRI:
and (111) Lumbar Spine MRI. 1

The Cervical Spine MRI, on October 8, 2016, found “straightening of normal
lordotic curvature,” “a 1 mm broad-based posterior disk bulge at C3-C4 level indenting
the anterior aspect of the thecal sac,” “a 2 mm central posterior disk protrusion at C4-C5
level causing pressure over the anterior aspect of the thecal sac,” “a 2 mm broad-based
posterior disk/endplate osteophyte complex at C5-C6 level causing pressure over the
anterior aspect of the thecal sac,” and “a 2 mm broad-based posterior disk protrusion at
C6-C7 level causing pressure over the anterior aspect of the thecal sac.” Id. at 502.
Lastly, the MRI showed “mild narrowing of the left neural foramen and moderately
significant narrowing of the right neural foramen.” Id. at 503.

 

1 Collier stated to one Dr. Choudhury that she also underwent a brain MRI, in 2006, but no further information is in record.
See AR, Dkt. No. 17-1, at 118.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 11 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 12 of 36 Page ID #:1533

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

The right shoulder MRI, on July 5, 2017, found “9 mm A.P. approximately 50%
partial-thickness articular surface supraspinatus tendon tear on a background of moderate
tendinosis,” “[i]nfraspinatus and superior fiber subscapularis mild tendinosis,”
“{p|roximal long head of biceps mild Tendinosis,” “[m]inimal subacromial subdeltoid
bursitis,” and “[a|cromioclavicular joint osteoarthrosis.” Id. at 507.

The Lumbar Spine MRI, on February 15, 2019, found “impression anterior
osteophytes at T12 down through L.S.,” “[mlild disc desiccation at L2-L3 down through
LS-51,” “[a|nterior loss of disc height [. . .| at L5-Sl,” “[lJeft lateral annular fissure,” and
a “mild disc bulge [. . .] at LS-S] measures 2.6 mm.” There was no significant disc
herniation or neural foraminal narrowing, the spinal canal was patent, and the exiting
nerve roots were found normal. Id. at 500.

(vi) QME by Dr. Arora

Collier underwent a Qualified Medical Examination (““QME”) by Ripu Arora,
M.D., a Pain Management Anesthesiologist, on October 11, 2018, in connection to
Collier’s workers’ compensation claim. Id. at 410. On that day, Dr. Arora claimed not to
have Collier’s medical records to determine Collier’s potential impairment, its causation,
permanent and stationary status, apportionment of liability, or make any
recommendations. Id. at 420. Thus, Dr. Arora only examined Collier that day and noted
the following:

= Neck: “there is no obvious deformity. Movements of the neck with flexion
of 40 degrees, extension 40 degrees, bilateral rotation 65 degrees, lateral
bend 20 degrees, and there is a trigger point spasm with tendermess at the left
side on the multifidus. Spurling’s test is negative.” Id. at 420.

= Right shoulder: “flexion 170 degrees, extension 45 degrees, abduction 110
degrees, adduction 30 degrees, external rotation 40 degrees, and internal
rotation 90 degrees.” Id.

= Left shoulder: “abduction 180 degrees, adduction 40 degrees, flexion 180
degrees, extension 55 degrees, and external rotation and internal rotation 90
degrees.” Id.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 12 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 13 of 36 Page ID #:1534

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

= Back: “Movements of the spine, flexion 60 degrees, extension 20 degrees,
bilateral rotation 70 degrees, lateral bend 20 degrees each, and straight leg
raising is negative, and Faber’s test is negative. However, there is some
tenderness noticed at the sacroiliac joint bilaterally.” Id.

Furthermore, after conversing with Collier, Dr. Arora noted that Collier is
complaining about neck pain; lower back pain that has recently been getting worse when
she drives for hours, sits, or fly for hours; and, pain in different areas of her “head, neck
and buttocks in 6-7/10 and sometimes reaches 10/10.” Additionally, Collier said her
headaches were gone since her Botox injections and that her hemorrhoids have healed.
Id.

Upon receiving Collier’s medical records on October 24, 2018, Dr. Arora noted,
“there are a lot of differences between [Collier’s] history provided to me at the time of
the October 11th examination and the medical records provided to me [today].” Id. at
378-79. Notably, Dr. Arora asserted that although Collier told him that her shoulder,
neck, elbow, lower back, and hemorrhoids started in 2017, her medical records indicated
she had experienced these pains since 2005 and on. See id. Dr. Arora concluded that,
after reviewing Collier’s medical records, “the back pain and the neck pain as well as
hemorrhoids are not out of [AAA’s] employment.” Id. at 379. As for the right shoulder
injury, Dr. Arora concluded it “is related out of [AAA’s] employment, as a continuous
trauma from March 27, 2015, to July 25, 2017[,]” and that Collier “reached permanent
and stationary regarding her right shoulder since October 31, 2017.” Id. at 380. Lastly,
Dr. Arora set Collier’s whole person impairment at 0% per lower back, 5% per cervical
spine, 0% per left shoulder, 4% per right shoulder — for a total of 9% impairment. Id. at
380-81. The only limitations Dr. Arora articulate were “avoid any heavy lifting more
than 20 pounds and reaching above her head.” Id. at 381.

4. Collier’s Short-Term Disability

There is no indication in the records or in the pleading papers by either party that
Collier applied for short-term disability benefits. See generally, AR Dkt. No. 17-1.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 13 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 14o0f36 Page ID #:1535

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

5. Collier’s Long Term Disability Claim
Collier submitted her long-term disability claim on February 12, 2019. Id. at 1.

Subsequently, Lincoln obtained Collier’s job description and conducted an
occupational analysis by Senior Vocational Rehabilitation Consultant Jane G. Howard on
March 2, 2019. Id. at 1155-57.

Ms. Howard determined that Collier’s occupation in the national economy was
most consistent with Insurance Sales Agent (Dictionary of Occupational Titles “DOT”:
250.257-010). Id. at 1156. As described in DOT, the occupation of an Insurance Sales
Agent typically performed in both the sedentary and light physical demand environments.
Physical demands in sedentary environments include: (1) “[c]onstant sitting”; (2)
“{f]requent handling and fingering”; (3) “[n]o and Occasional standing, walking”; (4)
“[njo reaching (reaching can be eliminated by moving objects an ergonomically correct
distance from the body), bending/stooping, twisting, kneeling, crouching/squatting,
crawling, climbing or balancing.” Id. Physical demands in light environments include: (1)
“[f|requent standing, handling, and fingering”: (2) “[o]ccasional and Frequent reaching,
sitting”; (3) “[o]ccasional, walking, bending/stooping, twisting”; (4) “[n]o climbing,
kneeling, crouching/squatting, crawling or balancing.” Id. at 1157.

Lincoln then referred all of Collier’s medical records to a review by a third party,
Network Medical Review Co. Ltd. (“NMR”). Id. at 900-05. The paper peer review was

done on May 8, 2019, by Akhil Chhatre, M.D., a Physical Medicine and Rehabilitation
Specialist. Id.

In his report, Dr. Chhatre concluded that based on the evidence in Collier’s
orthopedic assessments and imaging results, “the severity and scope of [Collier’s]
reported pain . . . are not in line with the chronic and stable conditions that are supported
by the medical evidence,” and that “[f]rom 05/15/18 to the present, there are no supported
impairments.” Id. at 903. Accordingly, “[Collier] can work full time (8 hours/day, 5
days/week) without restrictions.” Id. Dr. Chhatre supported his conclusion by noting that
Collier’s “MRI of the cervical spine is from 2016, without any updated findings since
then. The right shoulder MRI is undated. [Collier] has stable exam findings with no new

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 14 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 15 of 36 Page ID #:1536

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

 

 

diagnostic testing or exam changes to suggest an acute neurologic or (musculoskeletal)
M.S.K. derangement.” Id. Dr. Chhatre made no reference to Collier’s Lumbar Spine MRI
from February 15, 2019. See id. at 900-05. The Court also notes that the right shoulder
MRI is dated July 5, 2017. Id. at 507.

Dr. Chhatre did not support his determination by a further finding of his own. See
generally id. at 900—05. Dr. Chhatre stated he called Collier’s treating physicians, Dr.
Haronian and Dr. Kohan, to discuss his determination, and left voice mail messages four
times — asking for a callback, but did not receive a call back from either. Id. at 901.

After determining that Collier had not been disabled since leaving work on May
14, 2018, Lincoln denied Collier’s claim on May 9, 2019, explaining that “[b]ased on the
medical documentation received in relation to the requirements of your occupation, you
do not meet the definition of Disability[...]. Thus no benefits are payable and we must
deny your claim.” Id. at 994-99. The letter explained how Disability is defined in the
Plan, stated the findings of Lincoln’s consulting physician (Dr. Chhatre), the vocational
review that the Court has already described, and detailed how Collier could appeal
Lincoln’s decisions. Id.

6. Appeal

On July 18, 2019, Collier submitted a notice of appeal to Lincoln. Id. at 872. On
October 24, 2019, Collier submitted additional information to support her appeal,
including: (1) a report from Dr. Haronian, responding to Dr. Chhatre’s peer review
report; (2) declarations by Collier’s domestic partner, her daughter, and her friend — all
attesting to Collier’s daily physical limitations; (3) report of Collier’s Functional
Capacity Evaluation (“FCE”), conducted on September 12-13, 2019. Id. at 850—SS.

Each of the supporting documents is summarized below.

(1) In response to the report from Dr. Chhatre, Dr. Haronian submitted a rebuttal
report on October 1, 2019, mainly noting (1) Dr. Chhatre is not an Orthopedic
Surgeon, but a Physical Medicine Rehabilitation Specialist; (11) Dr. Chhatre did not
physically examine Collier before issuing his report; (111) Dr. Chhatre’s findings

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 15 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 16 of 36 Page ID #:1537

Case No.

Title

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

SACV 20-839 JVS (KESx) Date April 16, 2021

 

 

Vicki Collier v. Lincoln Life Assurance Company of Boston

 

were contradicting to those articulated by the QME that found 9% whole person
impairment in Collier; and (iv) Dr. Chhatre seemed to ignore the fact that
regardless of the fact Collier’s back and neck injuries were present prior to her job,
she was currently suffering from pain. Id. at 330.

(2) Of note, the following declarations were made by Collier’s family members and
her friend:

Collier’s domestic partner of 9 years, Mr. Duane Raha, declared under

penalty of perjury on August 23, 2019:

After a few years of working at AAA Insurance, [Collier] would come home
complaining of discomfort in her neck and shoulder area. It progressively
got worse, and I would accompany her to her doctors’ visits. After several
months, there were times [Collier] could not sleep due to the pain she was
experiencing. [. . .] The pain continued to get progressively worse and since
the pain was in her neck and shoulders, we could no longer continue our
tennis or running activities, and on occasion we could only go for walks
instead. The activities at the gym slowed down as did the yoga classes we
attended. Our traveling is nonexistent because [Collier] can no longer ride in
a car for more the[n] 30 minutes as the pain has now traveled to her lower
extremities. Her recent trip to Georgia to see her daughter made her feel
incapacitated for days afterwards. Id. at 348.

Collier’s daughter, Ms. Nicolette Collier, declared under penalty of perjury

on August 15, 2019:

This past year has been super difficult on my mom because of the pain in her
shoulders and back that has affected her everyday life in numerous ways.
Going from working many hours and exercising a couple of hours a day, my
mom’s exercise now consists of walking her dog around the block once or
twice a day, and a lot of stretching, including stretching in a heated room. [. .
.] In order to visit my mom on weekends while I am away at college, I have
to figure out rides there and back home because it is too painful for my mom

 

CV-90 (06/04)

CIVIL MINUTES - GENERAL Page 16 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 17 of 36 Page ID #:1538

Case No.

Title

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

SACV 20-839 JVS (KESx) Date April 16, 2021

 

 

Vicki Collier v. Lincoln Life Assurance Company of Boston

 

to drive three hours to San Luis Obispo to visit me. While we were on a
plane to visit my sister in Georgia recently, I saw the complete irritation and
pain that my mother’s leg was causing her during our flight. Every so often
she had to get up and stretch by pacing around the plane, poking/massaging
her leg, and stretching as far as she possibly could with the limited space just
to get a few minutes of respite without this severe pain. The strength my
mother once had is deteriorating and she seems hopeless. Id. at 343-44.

Collier’s friend of 13 years, Ms. Lisa Tetreault, declared under penalty of

perjury on February 25, 2020:

About three-four years ago, [Collier] started complaining that something
was causing pain in her neck and shoulder. The pain continued and seemed
to get worse. She completely stopped any exercises that focused on her
upper body. She also complained that she couldn’t sleep at night because the
pain was so intense that it kept her up. She described it as a migraine-type
pounding headache. It got to the point it was so bad that she stopped
working out. She never had a problem performing any exercises prior to this.
[Collier] said she visited the chiropractor, on my recommendation, her
primary doctor and then a specialist where they found she needed shoulder
surgery. After surgery, she continued to work but seemed to get worse and
more body parts were affected. It was then she discovered it may be her
environment at work. From three years ago to now [Collier] has changed in
so many ways physically. She can no longer work out as she once did. She
has confided in me that she has been on pain pills for a very long time. Id. at
74.

(3) On September 12-13, 2019, Collier underwent an FCE conducted by Dr. Sebastian
Jurado, D.P.T. (Doctor of Physical Therapy). AR Dkt. No. 17-1, at 707-44.

After conducting the evaluation, Dr. Jurado noted: “Although [Collier]

presented with functional limitations on the first day of testing, her performance
and activity tolerance declined on day 2.” Id. at 709. Furthermore, Dr. Jurado
elaborated: “Although the client did not have a significant increase in heart rate

 

CV-90 (06/04)

CIVIL MINUTES - GENERAL Page 17 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 18 of 36 Page ID #:1539

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

after functional tasks on day 2 of testing, the client presented with higher levels of
pain and observable pain postures limiting her ability to complete some of the
activities.” Id.

Dr. Jurado then concluded: “Based on testing, [Collier] is unable to perform
sedentary work as she is unable to maintain static sitting for approximately 2 hours

continuously and up to 6 hours a day.” Id.

Following Collier’s appeal and her submission of additional supporting documents,

Collier was asked to undergo an Independent Medical Examination (“IME”). Id. at 277—
95. The examination was done on January 27, 2020, by Katrina M. Vlachos, M.D.,
Physical Medicine and Rehabilitation specialist. Id.

In the physical examination of Collier, Dr. Vlachos detailed, inter alia, the

following findings:

On evaluation of the cervical spine, there is no loss of normal cervical lordosis, no
abnormal curvatures, there is active cervical range of motion is with flexion to 45
degrees, extension to 30 degrees, and rotation to 45 degrees bilaterally. No
tenderness was noted of the cervical paraspinal muscles nor in the parascapular
region. There was mild tightness along the trapezius bilaterally. Id. at 287.

On evaluation of the right shoulder, there was no tenderness along the anterior or
posterior shoulder. Right shoulder range of motion was 130 degrees of abduction,
80 degrees of external rotation, and 60 degrees of internal rotation. There was no
pain with resisted internal or external rotation, nor with Speed’s test, but some pain
with Hawkins’ test on the right shoulder. Id.

On evaluation of the left shoulder, abduction was 30 degrees, external rotation was
80 degrees, and internal rotation 30 degrees before Collier noted discomfort. There
was pain with Hawkins’ and Speed’s test on the left shoulder. Id.

On evaluation of the right elbow, flexion was 140 degrees, extension 0 degrees,
supination and pronation were 70 and 80 degrees bilaterally. There was no pain or

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 18 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 19 of 36 Page ID #:1540

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

limitation with range of motion on the right side. There was tenderness along the
lateral epicondyle on the right side, but no tenderness along the medial epicondyle
and no pain on the right side with resisted finger extension. Id.

= On evaluation of the left elbow, there was full range of motion with pain noted
with supination. There was tenderness along the medial and lateral epicondyles and
pain with resisted finger extension. Id.

= On evaluation of both wrists, range of motion was 60 degrees of flexion bilaterally,
60 degrees of extension bilaterally, radial and ulnar deviation were 20 and 30
degrees bilaterally. Id. at 287-88.

O On evaluation of the right wrist, there was no swelling or discoloration noted,
and no tenderness to palpation. There was no pain or limitation on range of

motion. There was tenderness to palpation along the dorsal aspect of the wrist.
Id.

O On evaluation of the left wrist, there was discomfort with flexion, but no
limitation in motion. Id.

= There were full flexion and extension of the fingers on both hands. Id. at 287.
= There was no significant overreaction during the examination. Id. at 289.

Furthermore, Dr. Vlachos stated in her report: “It is my opinion based on these
MRI findings that [Collier’s] symptoms appear to be out of proportion to what would be
expected based on [the right shoulder and cervical spine] MRI findings. [Collier’s] upper
extremity pain would not be consistent with the cervical MRI as there was no significant
neural foraminal narrowing and that the findings on cervical MRI appeared to be
relatively minor. Additionally, [Collier] has been off work for over one year and she
continues to have significant symptoms with no apparent improvement upon rest and not
working.” Id. at 290.

With it, Dr. Vlachos detailed the following medical restrictions for Collier: (1) can

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 19 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 20 0f 36 Page ID #:1541

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

sit up to 30 minutes at a time, after which she will need to take a 5-minute break before
resuming sitting; (2) can stand or walk up to 30 minutes at a time, after which she will
need to take a 5-minute break before resuming her standing or walking; (3) can sit for a
total of 6-8 hours a day: (4) can walk or stand for a combined 4 hours total in an 8 hour
day; (5) can lift and carry up to 10 pounds “occasionally”; (6) can push and pull up to 20
pounds “occasionally”; (7) perform tasks with regards to fingering, feeling, gripping, and
grasping on an “occasional” basis. Id. at 292-93. These restrictions, Dr. Vlachos noted,
“would likely be permanent.” Id. at 293. Dr. Vlachos recommended “an ergonomic
workstation and a sit-stand at desk, so [that Collier will be] able to change positions
frequently as this would mitigate her symptoms such that she would be in less pain and
be able to function at a higher level.” Id.

Finally, Dr. Vlachos concluded that Collier “can work full time, 8 hours per day, 5
days per week, for a total of 40 hours per week with the restrictions and limitations
outlined.” Id. at 294.

In response to Dr. Vlachos’ report, Collier submitted her declaration, which states
in its pertinent parts:

“Changing positions from sitting to standing will not show difficulty unless I am
asked to do it over and over again. [. . .] It is the repetitive motion over and over
again for 8, 10, or 12 hours a day. It is the repetitiveness my body cannot withstand
(sitting, standing, keying, gazing, writing, looking right to left). I simply cannot do
this. [. . .] The doctor evaluation consisted of a total of 50 minutes. There was no
repetitive testing done.” Id. at 69.

Lincoln denied Collier’s appeal on April 16, 2020. Id. at 12-19. The letter
explained that although Lincoln acknowledges that Collier’s physical conditions may
have caused her some impairments, her medical records do not include support that
shows her impairments were rendering her from performing her occupational duties
through and for 12 months after the Elimination Period under the Plan. Id. at 17. It also
relied on the findings by Lincoln’s consulting physician, Dr. Chhatre, and the finding
from the IME, by Dr. Vlachos, as grounds for denial — including mentioning of no new
exam findings to support acute derangements and various recommendations for

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 20 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 21 of 36 Page ID #:1542

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

accommodations that will enable Collier to preform her occupation in a part-time
capacity. Id. at 13-17.

IV. DISCUSSION

On de novo review, the Court must decide whether the claim decision was correct
under the terms of the Plan based on the administrative record as it existed when the
decision was made. See Kearney, 175 F.3d at 1090 (“[T]he record that was before the
administrator furnishes the primary basis for review.”). It is at all times a plaintiff's
burden to support and prove her claim. Jordan v. Northrop Grumman Corp. Welfare
Benefit Plan, 63 F. Supp. 2d 1145, 1157 (C.D. Cal. 1999), aff'd, 380 F.3d 869 (9th Cir.
2004), abrogated on other grounds by Abatie v. Alta Health & Life Ins. Co., 458 F.3d 955
(9th Cir.2006) (en banc).

The Court finds that Lincoln properly denied Collier’s LTD benefits because
Collier failed to show, based on the administrative record at the time as existed when the
decision was made, that she was “disabled” and therefore unable to perform her job under
the terms of the Plan during the Elimination Period and the 12 months thereafter.
Therefore, as explained below, Lincoln’s claim denial is affirmed.

On de novo review, a court must “evaluate the persuasiveness of conflicting
testimony and decide which is more likely true.” Kearney, 175 F.3d at 1095. “[A] true
medical diagnosis does not by itself establish disability.” Jordan, 370 F.3d at 880.
“Rather, a claimant must prove tha[t] her impairment is disabling, using objective and
subjective medical evidence in the record.” Popovich, 281 F. Supp. 3d at 1003 (citing
Seleine v. Fluor Corp. Long-Term Disability Plan, 598 F. Supp. 2d 1090, 1101-02 (C.D.
Cal. 2009)). There is no presumption in favor of a claimant’s treating physician. Black &
Decker Disability Plan v. Nord, 538 U.S. 822, 834 (2003) (“[I]f a consultant engaged by
a plan may have an ‘incentive’ to make a finding of ‘not disabled,’ so a treating
physician, in a close case, may favor a finding of ‘disabled,’ . . . [therefore] courts have
no warrant to require administrators automatically to accord special weight to the
opinions of a claimant’s physician.”). Although there is no clear binding guidance on
resolving such conflicts, one court in this District has held that the “credibility of
physicians’ opinions turns not only on whether they report subjective complaints or

 

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 21 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 22 of 36 Page ID #:1543

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

 

 

objective medical evidence of disability, but on (1) the extent of the patient’s treatment
history, (2) the doctor’s specialization or lack thereof, and (3) how much detail the doctor
provides supporting her or her conclusions.” Shaw v. Life Ins. Co. of N. Am., 144 F.
Supp. 3d 1114, 1129 (C.D. Cal. 2015).

Here, the parties dispute whether Collier was disabled from performing her job, as
defined by the Plan.

A. COLLIER’S BURDEN OF PROOF

To receive initial LTD benefits under the Plan, pursuant to 29 U.S.C. §
1132(a)(1)(B), Collier must prove she was disabled for the Elimination Period and for 12
months thereafter, i.e., from May 15 until November 15, 2019. See id. at 1225. Collier
would be considered disabled under the Plan if she can prove by a preponderance of the
evidence that due to her injuries, she could not perform acts that are normally required,
and could not be reasonably omitted or modified, from an Insurance Sales Agent. See id.
The proof of Collier’s disability must be furnished to Lincoln in writing. Id. at 1256.

The Court finds that Collier did not meet her burden of proof by showing that she
was disabled for the Elimination Period and for 12 months thereafter from performing her
job as an Insurance Sales Agent.

Collier asserts that she was entitled to LTD benefits under the Plan mainly because
during the Elimination Period and for 12 months after (1) she experienced constant pain,
(2) each of her treating physicians issued her work restrictions that precluded her from
being able to perform her occupation, (3) the FCE expressly indicated that she could not
return to work, (4) the medications Collier consumed prevented her from being able to
cognitively function at work, and (5) she is credible. Collier Opening Br., Dkt. No. 18, at
7-12.

The Court considers each of Collier’s assertions in turn.

1. Collier Subjective Complaints of Pain

Collier correctly asserts that nothing in the Plan or relevant case law demands

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 22 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 23 of 36 Page ID #:1544

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

objective medical evidence for a claimant to be entitled to LTD benefits. Collier Resp.
Br., Dkt. No. 25, at 6; see generally AR Dkt. No. 17-1, at 1217-59; Salomaa v. Honda
Long Term Disability Plan, 642 F.3d 666, 678 (9th Cir. 2011) (finding that a disability

insurer cannot condition coverage on proof by objective indicators).

However, the Court also notes that subjective complaints alone cannot establish
disability. Instead, evidence of subjective reasonable complaints can be relied on only
when a physician finds objective medical support for it. Bunnell v. Sullivan, 947 F.2d
341, 344 (9th Cir. 1991) (“a claimant will not be considered disabled based solely on
subjective complaints of pain. The claimant must produce objective medical evidence of
an underlying impairment ‘which could reasonably be expected to produce the pain or
other symptoms alleged.’”) (citing 42 U.S.C. § 423(d)(5)(A) (1988)).

Here, Collier’s medical records establish her subjective complaints of pain. See AR
Dkt. No. 17-1, at 106-129, 359-76. Yet, two factors prevent the court from relying on
those complaints. First, scarce objective medical support exists for Collier’s ailments and
her complaints of pain. See Section 2 infra. Second, Collier’s questionable credibility, as
evident from her spontaneous statements to her doctors throughout the period at issue,
further calls her subjective complaints into question. Shaw, 144 F. Supp. 3d at 1128 (“At
the same time, the prospect of receiving disability benefits based on an ailment whose
extent is objectively unverifiable provides a strong incentive to falsify or exaggerate ... [;]
assessment of the claimant’s credibility thus becomes exceptionally important’ in such
cases.”’) (citing Fair v. Bowen, 885 F.2d 597, 602 (9th Cir.1989)). Both factors are
addressed below.

Thus, although Collier’s medical records establish her subjective complaints of
pain, without more, the Court cannot rely on this evidence to find disability.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 23 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 24 of 36 Page ID #:1545

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

2. Treating Physicians’ Work-Restrictions

One of Lincoln’s main reasons for denying Collier’s application for LTD benefits
under the Plan is that her treating physicians — Drs. Tun, Haronian, and Kohan never
determined that Collier could not work but simply issued her with “common-sense
restrictions” that AAA could accommodate. Lincoln Opening Br., Dkt. No. 19, at 25.
Although limited in scope, Collier asserts, these restrictions disabled her completely from

performing the material duties of her occupation and could not be accommodated. Collier
Resp. Br., Dkt. No. 25, at 7.

The Court finds that the work restrictions were based mostly on subjective
evidence, i.e., physical examination findings that rely entirely on Collier’s stated
sensations, because (1) Collier did not produce any other reports for comparison with
earlier testing (from 2016 and 2017) — to suggest deterioration in her once-tolerable
conditions, (2) Collier did not undergo any objective testing during the Elimination
Period, and (3) Collier produced only one Lumbar MRI in February of 2019. See AR
Dkt. No. 17-1, at 113, 117, 118-29.

In addition, Collier failed to show that the limited work restrictions could not be
accommodated by AAA ~— as required by the Plan. Id. at 1228.

(1) Dr. Tun’s Mere Reliance on Collier’s Subjective Statements in Summarizing
Findings and Issuing Restrictions

 

Dr. Tun, from May 14, 2018, to November 1, 2018, provided Collier with work
restrictions that prevented her from use of her shoulders and arms, and from typing.
Lincoln Reply Br., Dkt. No. 26, at 8. Those restrictions were primarily based on residual
pain from a prior right shoulder rotator cuff surgery — that Collier said she was
experiencing, on a limited range of motion — founded on Collier’s statements with respect

to her movement abilities, and on prescriptions of pain medications. See AR Dkt. No. 17-
1, at 1115, 1117, 1091.

Hence, Dr. Tun’s work restrictions were based on Collier’s subjective complaints
where he did not rely on any objective findings, such as post-surgery MRIs, X-Rays, and

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 24 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 25 of 36 Page ID #:1546

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

the like. The Court has already discussed its reasons behind discounting Collier’s
subjective complaints.

Further, even if the Court were to consider Dr. Tun’s restrictions as objective
evidence, Dr. Tun still “deemed [Collier] able to return to work at full capacity on
11/1/2018” — approximately two weeks before the elimination period. Id. at 1091.

(11) Dr. Haronian’s Main Reliance on Collier’s Subjective Statements in Summarizing
Findings and Issuing Restrictions

 

Like Dr. Tun, from September 5, 2018, until February 15, 2019 (the date of
Collier’s Lumbar MRI), Dr. Haronian also relied on Collier’s subjective complaints of
pain in conducting his exams and issuing Collier’s work restrictions. See id. 99-105;
Saffon v. Wells Fargo & Co. Long Term Disability Plan, 522 F.3d 863, 869 (9th Cir.
2008) (noting that even one relevant MRI from the period at issue can serve as objective
support for subjective evidence). Unlike Dr. Tun, Dr. Haronian expressly stated that
Collier “may return to the workplace, but should not lift. . ..., AR Dkt. No. 17-1, at 965.

 

Both Dr. Tun and Dr. Haronian indicated that Collier should be considered totally

and temporarily disabled if her employer cannot accommodate her work restrictions. e.g.,
id. at 925, 1125.

To this point, notwithstanding Collier’s assertion that she contacted her Manager
on or around May of 2018 to ask whether AAA could accommodate her restrictions and
was answered in the negative, there is no other record to show that AAA indeed refused
to modify Collier’s work duties or accommodate her work restrictions. See id. at 68,
1256.

(111) No Work Restrictions by Dr. Kohan
Finally, as Lincoln correctly noted, Dr. Kohan did not provide any functional

limitations for Collier but simply sided with the FCE findings — with no explanation for
his support. Lincoln Reply Br., Dkt. No. 26, at 14-15; AR Dkt. No. 17-1, at 334.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 25 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 26 of 36 Page ID #:1547

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

While Collier’s subjective evidence cannot be disregarded if her credibility
remains intact, physical exams by physicians are sufficient to prove Collier was under
appropriate care and treatment but are insufficient to serve as the entire objective
evidence that is required. See Fair, 885 F.2d at 602 (finding that the assessment of the
claimant’s trustworthiness becomes extremely important in excess pain cases); Voight v.
Metro. Life Ins. Co., 28 F. Supp. 2d 569, 580 (C.D. Cal. 1998) (denying subjective
claims where treating physicians’ opinions suffered from a lack of diagnostic precision
and objective support).

Considering no objective testing was done until February of 2019, where Collier’s
treating physicians relied on her subjective complaints in issuing the work restrictions,
and where Collier did not furnish proof that her restrictions could not be modified by
AAA, the Court finds Collier failed to establish sufficient objective support for her
subjective evidence.

In oral argument before the Court, plaintiff counsel reiterates that Collier’s prior
objective testing — before her shoulder surgery — is sufficient proof to support her
subjective complaints during the elimination period.

However, controlling case law indicates otherwise. Objective medical evidence
supporting disability is found when EMG testing, MRI exams, and X-Rays are provided
post-surgery — to most accurately reflect a current condition than a prior one. See Sterio
v. HM Life, 369 F. App’x 801, 804 (9th Cir. 2010) (“An EMG test confirmed that Sterio
had right sciatic neuropathy after her last hip revision surgery. Two MRI exams revealed
excess metal artifacts in Sterio’s pelvis region. Two x-ray exams revealed bone thinning
in Sterio’s right foot.”): Scoles v. Intel Corp. Long Term Disability Benefit Plan, 657 F.
App’x 667, 669 (9th Cir. 2016) (requesting an updated objective medical finding, to
determine eligibility for benefits).

Therefore, some objective proof, other than mere pre-operation testing, is required
to support Collier’s subjective complaints during the elimination period.

In addition, during oral argument, plaintiff counsel reiterated the argument that
Collier was disabled because she had work restrictions that prevented her from typing —

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 26 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 27 of 36 Page ID #:1548

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

an allegedly material action that comprised 85% of Collier’s time at work.

First, similar to Collier’s complaints regarding her neck, shoulder, and back
injuries, Collier failed to provide any objective proof that she is suffering from a medical
condition in her wrists and fingers which prevents her from typing. Shoulder surgery is
not dispositive for the use of one’s hands. See Ermovick v. Mitchell Silberberg & Knupp
LLP Long Term Disability For All Emps., 472 F. App’x 459 (9th Cir. 2012)
(Notwithstanding it being a “any occupation” case, indicating that cautious statements
from physicians stating that plaintiff face long-term difficulties with certain movements
do not necessarily determine plaintiff cannot preform their job). To the extent that Collier
relies on some assertion that her neck, shoulder, and back injuries — and not her wrist or
finger injuries — prevented her from typing, she had put forth no evidence of that
connection, nor can the Court find any case law to support the same.

 

Second, Collier’s counsel does not address the readily available accommodation
for the typing restriction. Namely, the use of voice-recognition software. AR Dkt. No. 17-
1, at 15, 38. As the Court stated in oral argument, Collier’s assertion that she cannot do
her job in the same manner as she has in the past does not mean she cannot do her job at
all. See Caplan v. CNA Fin. Corp., 544 F. Supp. 2d 984, 988 (N.D. Cal. 2008) (noting
restrictions that could be accomodated that would also enable the plaintiff to perform
their job preclude a finding that plaintiff was disabled); Graeber v. Hewlett Packard Co.
Emp. Benefits Org. Income Prot. Plan, 421 F. Supp. 2d 1246, 1256 (N.D. Cal. 2006),
aff'd sub nom. Graeber v. Hewlett Packard Income Prot. Plan, 281 F. App’x 679 (9th Cir.
2008) (considering voice-recognition software as one possible valid accommodation to
plaintiff's typing-related work restriction).

Therefore, even if Collier is required to type 85% of the time she is at work and is
medically restricted from doing so, Defendants cited to reasonable accommodations that
would allow her to perform her job, notwithstanding it being in a different form than
before. And as stated above, the Court is unwilling to rely on Collier’s self-serving
statements regarding possible accommodations without any evidentiary basis for those
statements. In any case, the record is entirely devoid of any evidence on which to base
such restriction.

 

Thus, the Court finds counsel’s arguments lack merits.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 27 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 28 of 36 Page ID #:1549

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

3. FCE Findings and Dr. Jurado’s Diagnosis

The FCE evaluation by Dr. Jurado was done on September 12-13, 2019, and thus

the Court will consider it only with respect to Collier’s functional abilities at that time.
AR Dkt. No. 17-1, at 707-44.

Collier considers the FCE findings and Dr. Juardo’s conclusion that she cannot
return to work with her existing limitations as objective evidence. Collier Resp. Br., Dkt.
No. 25, at 13, 18. Lincoln asserts that the FCE should be given little to no weight because
Dr. Jurado lacks credibility as he previously worked with Collier’s counsel on other cases
and was hand-picked by counsel for the instant action. Lincoln Opening Br., Dkt. No. 19,
at 14. Additionally, Lincoln contends the FCE was unreliable as it was done in a very
subjective manner, where the findings were controlled by Collier’s self-reported capacity
and whether she exerted full effort during the testing on both days. Id. at 15.

As to Lincoln’s first reason to discount Dr. Jurado’s credibility, the Court finds
Collier has established Dr. Jurado’s unbiased work by both counsel Glenn Kantor and
Ms. Linda Hayes’ declarations. The declarations detailed the independent process that
took place, by Ms. Hayes’ and without Mr. Kantor’s input, in choosing Dr. Jurado to
conduct the exam. See Collier Resp. Br., Dkt. No. 25-2, at 51-64.

However, as to Lincoln’s second reason to discount the weight that should be
given to the FCE, this Court has previously found that FCE is “generally a ‘reliable and
objective method of gauging the extent one can complete work-related tasks.”” (italics
added) Groch v. Dearborn Nat’! Life Ins. Co., No. 218CV06614CBMEX, 2020 WL
6374619, at *9 (C.D. Cal. Oct. 29, 2020) (citing Caesar v. Hartford Life & Acc. Ins. Co.,
464 Fed. Appx. 431, 435 (6th Cir. 2012). From reviewing Dr. Jurado’s methods he used
to assess Collier’s range of motion and functional capacity (e.g., electronic muscle tester
and dual inclinometers), it is apparent that the methods allowed for considerable
subjective input from Collier. See, e.g., Taher v. Valerio-Mena, 195 Misc. 2d 687, 690
(Civ. Ct. 2003) (noting susceptibility of inclinometers to manipulations and exaggerations
of subjective pain).

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 28 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 29 of 36 Page ID #:1550

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

Thus, the Court does not completely disregard the FCE findings and Dr. Juardo’s
conclusion (both due to the time the FCE was conducted and for the methods it
employed) but considers in light with its aforementioned comments on Collier’s
subjective complaints.

In oral argument before the Court, plaintiff's counsel contested that FCE exams,
and the methods used by Dr. Juardo in particular, are easy to manipulate by subjective
complaints. Counsel asked the Court to note that the case law on which the Court relied is
approximately 18 years old and the accuracy of the methods used has since improved.
Counsel did not offer any evidence to support his contention.

Nonetheless, the Court finds that this argument lacks merit. A claimant can easily
manipulate FCE’s test results: Robertson v. Standard Ins. Co., 139 F. Supp. 3d 1190,
1209 (D. Or. 2015), order clarified, No. 3:14-CV-01572-HZ, 2015 WL 13682034 (D. Or.
Nov. 13, 2015) (stating that the court is unable to determine whether the claimant
manipulated the FCE’s testing results to find that claimant cannot fulfill the sitting
requirement for a sedentary occupation or whether the conducting examiner made an
error in testing). As a result, the court assigned little weight to reliance on FCE’s
findings. Id.

Thus, the Court finds that counsel’s argument lacks merit, and the Court will not
wholly disregard the FCE but will rather give it its appropriate weight.

4. Medications’ Effect on Collier’s Cognitive Function

As for the pain medications consumed by Collier, the Court finds Collier did not
experience any adverse effects from the medications, because both Collier and her
treating physicians noted as much numerous times on record. AR Dkt. No. 17-1, at 102
(“Her pain regimen has been helpful and this include Norco |. . .] with no nausea,
vomiting, constipation, oversedation, or epigastric pain.”); id. at 164 (“She does not
report any side effects.”’); id. at 538 (“She does not report any side effects.”); id. at 546
(“She denies any side effects.”); id. at 591 (“There are no significant reported adverse
side effects.”); Id. at 88 (“[T]here are no side effects as before.”); Id. at 91 (“With respect

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 29 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 30 0f 36 Page ID #:1551

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

to her medication, no side effects and she continues to benefit partially from . . .”); Id. at
92 (“Her regimen will be refilled due to lack of side effects.”).

Considering the absence of complaints by Collier to her treating physicians
regarding the effects of consuming her prescribed narcotics and the statements by her
treating physician to the contrary, the Court finds Collier’s attestation on the issue
unpersuasive. See id. 70, 88, 91, 92, 102, 164, 337, 538, 546, 591.

5. Collier’s Credibility

Collier asserts there is no evidence to support Lincoln’s allegation that she is not
credible. Collier Resp. Br., Dkt. No. 25, at 19-22.

Among other reasons, Lincoln argues Collier’s complaints and testimonies cannot
be relied upon because (1) while visiting other physicians, Collier did not complain about
her ongoing pain and injuries, (11) in a call with Dr. Tun in August 2018, Collier stated
she was experiencing shoulder pain with prolonged activity — although she was not
working for more than three months at that time, and (iii) during visits to other physicians
in November 2018, Collier mentioned she had been exercising for six hours per week at a
moderate to strenuous level. See generally Lincoln Opening Br., Dkt. No. 19. In her
response to the allegations, Collier states that she is to be believed because (1) she
demonstrated “exemplary work ethics,” and (11) although she admits to continue and
exercise, “her level of activity falls far short of what Ms. Collier was previously capable
of performing.” Collier Resp. Br., Dkt. No. 25, at 19-22. Collier does not address
Lincoln’s other reasons for its argument. Id.

Indeed, Collier visited her internist four days before she stopped working in May
of 2018, to address bilateral Tinnitus, but did not mention any of her orthopedic-related
pains. AR Dkt. No. 17-1, at 1126-27. Unlike her visit to her Nurse Practitioner in July of
2018, to address her Condyloma, it is reasonable to expect Collier would share with her
internist an ongoing pain that limited her every day, especially four days before it became
totally debilitating. Id. at 259, 1126-27. Similarly, the Court finds Collier’s decision to
undergo a cosmetic procedure of injecting Botox to her lips, while she is allegedly
disabled from working because she has been suffering massive pains, questionable. Id. at

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 30 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 31 0f 36 Page ID #:1552

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston
1092.

In addition, Collier provided no explanation as to why she continued to experience
shoulder pain with prolonged activity while she was not working for over three months at
that time of her complaint to Dr. Tun. Id, at 278. Similarly, Collier complained of the
same and even more severe pain level when she was examined by Dr. Vlachos in January
of 2020 — more than a year and a half after being off of work. Id. at 35. Considering that
most of the physicians involved in this action indicated Collier needs frequent breaks
from sitting/standing/gripping, rest was deemed a useful treatment._See, e.g., Peterson v.
Fed. Express Corp. Long Term Disability Plan, No. CV-05-1622-PHX-NVW, 2007 WL
1624644, at *4 (D. Ariz. June 4, 2007) (noting time off work was a helpful treatment for
pain that would be aggravated upon returning to work). Thus, Collier’s ongoing
complaints of pain while off work raises the suspicion Collier was not resting as she
asked for from her physicians, and instead remained very active — but not at work.

 

Moreover, on October 16, 2018, December 12, 2018, March 21, 2019, and on
March 28, 2019, Collier spontaneously admitted to various Drs. and nurses she was
exercising “360 minutes per week at a moderate to strenuous level.” AR Dkt. No. 17-1, at
1074, 1070, 656, 669. Generally, it seems that Collier admitted this exercise routine to
any medical personnel who was not Drs. Tun, Haronian, or Kohan. See id. While Collier
claimed that she could not exercise at the same level as in the past, Collier Resp. Br., Dkt.
No. 25, at 20, that claim is unavailing. From a cursory review of the records, Collier
stated to have the same exercise routine back in February 2005 — before any alleged
injury occurred. AR Dkt. No. 17-1, at 179.

Furthermore, Collier seems to suggest that exercising less strenuously than she was
used to is a reasonable standard to indicate her total disability. See Collier Resp. Br., Dkt.
No. 25, at 20; AR Dkt. No. 17-1, at 65, 74. Such suggestion is equally unpersuasive.
Instead, her inability to perform exercises that employ the same or higher physical
demands as her occupation would help find disability, where any ability to perform such
exercises would help establish an ability to perform the duties of the occupation in
question. See, e.g., Dorsey v. Metro. Life Ins. Co., No. 215CV02126KJMCKD, 2017 WL
3720346, at *12 (E.D. Cal. Aug. 29, 2017) (finding that plaintiff's complaints about
various impairments such as neck and low back pain did not establish disability because,

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 31 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 32 of 36 Page ID #:1553

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

inter alia, they were inconsistent with her daily activities that included working out,
driving, etc.).

Here, in addition to her spontaneous admissions to Kaiser Permanente medical
staff of her daily strenuous exercise, Collier specifically stated to Dr. Vlachos she was
biking — which constitutes similar arm movements and hand flexing to that of typing. See

AR Dkt. No. 17-1, at 306.

Although the Court agrees with Lincoln that close family members’ and friends’
testimonials can be self-serving, such testimonials are routinely considered and admitted
into evidence by the Courts in our jurisdiction. See, e.g., Demer v. IBM Corp. LTD Plan,

835 F.3d 893, 905 (9th Cir. 2016) (considering a friend’s testimony which corroborated
claimant’s subjective complaints of pain).

As such, the Court considers Collier’s domestic partner testimonial in full. AR Dkt.
No. 17-1, at 348-49. However, with respect to Collier’s daughter and Collier’s friend
testimonials, the Court finds the testimonials inconsistent with Collier’s testimonies and
medical records, which makes them less credible. For example, on March 21, 2019,
during a skincare visit, Collier stated she is “exercise[ing| 420 minutes per week at a
moderate to strenuous level,” while on February 25, 2020, her friend Lisa Tetreault,
stated in her testimony in referring to “three years ago to now,” that Collier “stopped
working out.” Id. at 74, 659. Similarly, Collier’s daughter, Nicolette Collier, on August
15, 2019 — only a few months after her mother’s statement — stated, “[t]his past year has
been super difficult on my mom because [she went] from working many hours and
exercising a couple of hours a day [. . .] [to] walking her dog around the block once or
twice a day, and a lot of stretching, including stretching in a heated room.” Id. at 343-44.
Collier’s daughter was surely aware of her mother’s daily visits to the gym, yet she did
not mention it. See id. at 306.

Lastly, Collier’s exemplary work ethics and ranking are commendable. Id. at 746—
749, 751, 776, 784. However, they cannot serve as indicators to whether Collier was
willing to receive 66.67% of her compensation upon finding disability instead of
continuing to work for 100% compensation. See id. 7. Again, while commendable, they
do not speak to her entitlement to disability benefits.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 32 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 33 of 36 Page ID #:1554

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

In defending the evidence she offers, Collier accurately states that the Court cannot
reject her complaints unless it has reason to disbelieve them. Demer, 835 F.3d at 905
(stating a plaintiff should be believed if the insurer has no basis for rejecting his
credibility). However, as demonstrated above, Collier provided the Court with a few
reasons to disbelieve her complaints and failed to adequately address Lincoln’s
arguments on the matter.

For the reasons stated above, the Court finds Collier did not satisfy her burden of

proof, by a preponderance of the evidence, that she was temporary and totally disabled
between May 15, 2018, to November 15, 2019.

B. LINCOLN’S REBUTTAL

Lincoln conducted its own review of Collier’s records and a physical examination
of Collier. The Court addresses the findings of that review below.

The Court first addresses Dr. Chhatre’s findings. AR Dkt. No. 17-1, at 886-90.
The Court notes Dr. Chhatre never physically examined Collier. See id. Controlling case
law already determined that “disabling pain cannot always be measured objectively.”
Saffon, 522 F.3d at 873 n.3. Considering this, Dr. Chhatre undoubtedly missed a “piece
of the puzzle,” namely, Collier’s subjective complaints about her pain. See Demer, 835
F.3d at 905 (“there is ‘nothing inherently objectionable about a [paper] review,’ but such
‘reviews are particularly troubling when the administrator’s consulting physicians—who
have never met the claimant—discount the claimant’s limitations as subjective or
exaggerated.””’) (citing Godmar v. Hewlett-Packard Co., 631 Fed. Appx. 397, 406 (6th
Cir. 2015)). Thus, the Court finds Dr. Chhatre’s opinion that “[t|he severity and scope are
not in line with the chronic and stable conditions that are supported by the medical

evidence” and that Collier “does not have supported impairment,” to be an incomplete
assessment. AR Dkt. No. 17-1, at 889.

Thus, Dr. Chhatre’s conclusion that “Plaintiff could work full-time (8 hours/day, 5
days/week) without restrictions” is not given much weight. Id.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 33 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 34o0f 36 Page ID #:1555

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

Dr. Vlachos’ IME evaluation was done on January 27, 2020, and thus the Court
will consider it with respect to Collier’s functional abilities at that time — after the
Elimination Period and 12 months thereafter. See Gary v. Unum Life Ins. Co. of Am.,

388 F. Supp. 3d 1254, 1282 (D. Or. 2019), rev’d and remanded on other grounds, 831 F.
App’x 812 (9th Cir. 2020) (stating that test results reflect plaintiffs abilities at the time of
the test).

 

Dr. Vlachos took into account Collier’s treating physicians in arriving at her
conclusion and issuing Collier’s work restrictions, and so the Court will take Dr.
Vlachos’ report at face value. AR Dkt. No. 17-1, at 274. Vlachos found nonorganic
contributions to Collier’s complaints, which can result from low tolerance for pain — an
acceptable factor to account for in disability-related claims. See, e.g., Shaw v. AT & T
Umbrella Ben. Plan No. 1, 795 F.3d at 543 (6th Cir. 2015) (taking into account low
tolerance for light movements with increased pain).

With it, similar to Collier’s treating physicians’ findings and restrictions, Dr.
Vlachos’s findings and resulting restrictions were almost entirely based on Collier’s
examination and her subjective stated abilities and limitations. AR Dkt. No. 17-1, at 268—
69. Dr. Vlachos’s restrictions were in line with the restrictions that Collier’s treating
physicians provided. See id. at 258-76. Such restrictions, as related to Collier’s own
occupational demands, mainly limit Collier from prolonged sitting or standing sessions
and repetitive hand movements. See id. at 1198-200. These and similar restrictions do
not preclude Collier from performing her job, absent proof that she cannot be
accommodated by her employer. See Martin v. Aetna Life Ins. Co., 223 F. Supp. 3d 973,
985 (C.D. Cal. 2016) (“Plaintiff could return to modified work duties, with lifting no
greater than three pounds, and no repetitive keying or typing for more than three hours
per day. . .. Nothing was said about Plaintiff's definitive inability to stop working.”’).

Since Dr. Vlachos’ findings were almost entirely based on Collier’s statements,
and because Collier’s credibility is at question, the Court considers Dr. Vlachos’ findings
and restrictions to bear equal weight as those of Collier’s treating physicians — all of
which were not proven sufficient to consider Collier totally disabled from performing her
occupation between May 15, 2018, to November 15, 2019.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 34 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 35 of 36 Page ID #:1556

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston

 

 

 

Finally, the Court addresses Dr. Arora’s exam and findings. AR Dkt. No. 17-1, at
357-83.

On his review of the entire record on October 24, 2018, Dr. Arora found Collier to
have 9% whole person impairment where the only needed limitations were “avoid[ing]
any heavy lifting more than 20 pounds and reaching above her head.” Id. at 381. Indeed,
as Lincoln correctly noticed, there were no restrictions on Collier’s using her hands nor
on her sitting or standing for prolonged periods. Lincoln Reply Br., Dkt. No. 26, at 7.
However, from reviewing Dr. Arora’s report, Dr. Arora undoubtedly noticed Collier’s
hand, neck, and back injuries — all of which he did not find to have been caused by
Collier’s work at AAA. AR Dkt. No. 17-1, at 380. Thus, the Court finds it reasonable that
in issuing the limitations, Dr. Arora merely addressed impairments that he found to have
resulted from Collier’s work. This is further supported by the fact that the “Future
Medical Needs” portion of the report only includes treatment for Collier’s shoulder and
none of the other found-to-be-impaired body parts. Id.

Thus, Dr. Arora’s findings and restrictions are of limited use — for either party — in
determining the extent of Collier’s disability.

In sum, the Court finds most convincing the extent to which Collier’s treating
physicians relied on Collier’s subjective reports in the absence of corroborating facts and
the major inconsistencies between her reported pain and her private exercise activities.

V. CONCLUSION

For the preceding reasons, the Court affirms Lincoln’s decision to deny Collier’s
benefits under the Plan.

IT IS SO ORDERED.

 

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CV-90 (06/04) CIVIL MINUTES - GENERAL Page 35 of 1
Case 8:20-cv-00839-JVS-KES Document 29 Filed 04/16/21 Page 36 of 36 Page ID #:1557

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

 

 

 

CaseNo. SACV 20-839 JVS (KESx) Date April 16, 2021
Title Vicki Collier v. Lincoln Life Assurance Company of Boston
Clerk

 

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CV-90 (06/04) CIVIL MINUTES - GENERAL Page 36 of 1
